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                EXHIBIT A
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: DIISOCYANATES ANTITRUST                           Master Docket Misc. No. 18-1001
 LITIGATION
                                                          MDL No. 2862
 This Document Relates to:
 ALL ACTIONS


               AFFIDAVIT OF RACHEL J. LAMORTE IN SUPPORT OF
                    MOTION FOR ADMISSION PRO HAC VICE

       I, Rachel J. Lamorte, hereby submit this affidavit in support of the motion for admission to

appear and practice in this Court in the above-captioned matter as counsel pro hac vice for

Defendant BASF Corporation. Being duly sworn, I hereby depose and say as follows:

       1.     I am an attorney with the law firm of Mayer Brown LLP. My business address is
              1999 K Street, NW, Washington, DC 20006.

       2.     I am a member in good standing of the bar of the State of Massachusetts. My bar
              identification number is: 692411.

       3.     I am a member in good standing of the bar of the State of New York. My bar
              identification number is: 5380019.

       4.     I am a member in good standing of the bar of the District of Columbia. My bar
              identification number is: 1743057.

       5.     A current certificate of good standing from the bar of the District of Columbia is
              attached hereto.

       6.     I have never been a party to a disciplinary proceeding concerning my practice of
              law that resulted in a non-confidential negative finding or sanction by the
              disciplinary authority of the bar of any state or any United States court.

       7.     I attest that I am a registered user of ECF in the U.S. District Court for the Western
              District of Pennsylvania.

       8.     I attest that I have read, know, and understand the Local Rules of Court for the U.S.
              District Court for the Western District of Pennsylvania.

       9.     Based on the foregoing, I respectfully request that I be granted pro hac vice
              admission to represent BASF Corporation in this matter.



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       I certify and attest that the foregoing statements made by me in this affidavit are true. I am

aware that if any of the foregoing statements made by me are false, I am subject to punishment.


Dated: April 1, 2022                              /s/ Rachel J. Lamorte
                                                  Rachel J. Lamorte
                                                  MAYER BROWN LLP
                                                  1999 K Street, NW
                                                  Washington, DC 20006
                                                  Telephone: (202) 263-3262
                                                  rlamorte@mayerbrown.com

                                                  Counsel for BASF Corporation




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  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



                 Rachel Jennifer Lamorte
      was duly qualified and admitted on December 17, 2021 as an attorney and counselor entitled to
                    practice before this Court; and is, on the date indicated below, a(n)
                              ACTIVE member in good standing of this Bar.




                                                                          In Testimony Whereof,
                                                                      I have hereunto subscribed my
                                                                      name and affixed the seal of this
                                                                           Court at the City of
                                                                      Washington, D.C., on February
                                                                                  1, 2022.




                                                                            JULIO A. CASTILLO
                                                                              Clerk of the Court




                                                                  Issued By:
                                                                           District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
